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8
           IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
9
                                              CALIFORNIA
10

11                                                    Case Number: 16-CR-110 TLN
     THE UNITED STAES OF AMERICA
12                                                    STIPULATION AND ORDER RE SPECIAL
     V.                                               CONDITIONS OF PRETRIAL RELEASE
13

14
     JORGE BERNAL-FARIAS
15

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            IT IS HEREBY STIPULATED by and between the parties hereto through their
18
     respective counsel, Assistant United States Attorney Justin Lee, attorney for Plaintiff, Olaf
19
     Hedberg, attorney for Jorge Bernal-Farias, and Renee Basurto Deputy Pretrial Release Officer
20
     that the Court's previously issued Pretrial Release Order be altered to add Condition of Release
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     14.
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            Specifically, the parties have agreed that the Special Conditions of Release ordered by
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     Hon. Allison Claire on 4/18/17, PACER # 83, be modified by the addition of Special Condition
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     #14 to read as follows:
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1    "14. You must not possess, have in your residence, or have access to a

2    firearm/ammunition, destructive device, or other dangerous weapon; additionally, you

3    must provide written proof of divestment of all firearms/ammunition currently under
4    your control."
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8                                                        Respectfully submitted,
9                                                        Dated May 2, 2017
                                                         by /s/ Olaf W. Hedberg
10                                                       Olaf W. Hedberg, Esq.
                                                         Attorney for Jorge Bernal-Farias
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12                                                       Dated: May 2, 2017
                                                         Philip Talbert
13                                                       United States Attorney
                                                         /s/ Olaf Hedberg for Justin Lee
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                                                         Justin Lee
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                                                         Assistant United States Attorney

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 3                                              ORDER
 4          Defendant Jorge Bernal-Farias' Special Conditions of Release in case 15-CR-110 TLN,
 5   issued by Hon. Allison Claire on 4/18/17, PACER # 83, be altered so that an additional Special
 6   Condition of Release be added as Special Condition #14 to read as follows:
 7

 8          "14. You must not possess, have in your residence, or have access to a
 9
            firearm/ammunition, destructive device, or other dangerous weapon; additionally, you
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            must provide written proof of divestment of all firearms/ammunition currently under
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            your control."
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     IT IS SO ORDERED
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     Dated: May 3, 2017
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